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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA
                      SAVANNAH DIVISION


UNITED STATES OF AMERICA                )
                                        )
                 V.                     )     Case No. 4:19-cr-106
                                        )
JIMMY ALEXANDER PUJOLS                  )
                                        )
           Defendant.                   )


                                ORDER

     Defendant’s Second Motion for Extension of Time (doc. 92) and

Motion to Amend Prior Motion so as to Declare This Case Complex (doc.

9)are before the Court for consideration. The Government has filed no

opposition. These motions are hereby GRANTED. Doc. 92 and Doc. 9.


     The indictment charges defendant with four offenses: 1) Conspiracy

to Import a Controlled Substance, 21 U.S.C. § 963; 2) Conspiracy to

Possess with Intent to Distribute and to Distribute Controlled Substance,

21 U.S.C. § 846; 3) Importation of a Controlled Substance, 21 U.S.C. § 952;

and 4) Possession with Intent to Distribute a Controlled Substance, 21

U.S.C. § 841(a)(1). Doc. 1.
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     Defendant asserts that the case involves allegations of a complex

scheme to transport large quantities of cocaine from the Dominican

Republic through the Port of Savannah. Doc 98 at 1-2. Defendant further

contends that key witnesses in the case are located in Augusta, GA;

Atlanta, GA; West Palm Beach, FL and the Dominican Republic. Doc. 92

at 1-2. Defendant informs the Court that discovery is voluminous (and

still ongoing); there are over 1000 phone calls, over 500 Spanish language

emails and thousands of pages of investigative reports. Doc. 98 at 2.


     Due to the unusual and complex nature of the case, it is

unreasonable to expect adequate preparation for pretrial proceedings and

the trial itself within the time limits established by the Speedy Trial Act.

The Court finds that the failure to grant this motion would deny

defendants the reasonable time necessary for effective preparation, taking

into account the exercise of due diligence, and would result in a

miscarriage of justice. The Court also finds that the ends of justice served

by granting this motion outweigh the best interest of the public and the

defendants in a speedy trial.    18 U.S.C. § 3161(h)(7)(A); 18 U.S.C. §

3161(h)(7)(B)(ii); 18 U.S.C. § 3161(h)(7)(B)(iv). Accordingly, this case is
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hereby declared complex and is not subject to the trial

deadlines contemplated by the Speedy Trial Act.'HIHQGDQW VSUHWULDO

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     So ORDERED this 24th day of February 2020


                                  __________________________________
                                  __________________________________
                                  Christophher L. Ray
                                  Christopher
                                  United States Magistrate J    udg
                                                              Judge
                                  Southern District of Georgia
